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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         2:17-CR-00053-JAM
12                   Plaintiff,
                                                       PRELIMINARY ORDER OF
13          v.                                         FORFEITURE
14   PAUL FOURNIER,
15                   Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Paul Fournier, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.      Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), defendant Paul Fournier’s

20 interest in the following property shall be condemned and forfeited to the United States of America, to be

21 disposed of according to law:

22                  a. Approximately $331,956.60 seized from Charles Schwab Account Number 1213-6532,
                       held in the name of Paul Fournier,
23                  b. Approximately $50,660.10 seized from Vanguard Account Number 0540-
                       88079073938, held in the name of Paul Fournier,
24                  c. Approximately $7,167.31 seized from Vanguard Account Number 0040-88063595422,
                       held in the name of Paul Fournier,
25                  d. Approximately $1,844.15 seized from Vanguard Account Number 0040-88060247883,
                       held in the name of Paul Fournier,
26                  e. Approximately $15,368.53 seized from Wells Fargo Bank Account Number
                       5763134987, held in the name of Paul A. Fournier,
27                  f. Approximately $3,375.09 seized from Wells Fargo Bank Account Number
                       5917189986, held in the name of Paul A. Fournier,
28
                                                         1                            Preliminary Order of Forfeiture
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                    g. Approximately $8,817.73 seized from Wells Fargo Bank Account Number
 1                     9894553933, held in the name of Industrial Precision, LLC,
                    h. Approximately $9,724.22 seized from Wells Fargo Bank Account Number
 2                     1483149173, held in the name of Industrial Precision, LLC, and
                    i. Approximately $2,970.36 seized from Bank of America Account Number
 3                     457024979427, held in the name of CK Renewables, LLC.
 4          2.      The above-listed property constitutes or is derived from proceeds traceable to violations of

 5 18 U.S.C. § 1349.

 6          3.      Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

 7 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.

 8 Marshals Service, in its secure custody and control.

 9          4.      a.      Pursuant to 28 U.S.C. § 2461(c), incorporated by 21 U.S.C. § 853(n), and Local

10 Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice

11 of the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the

12 Attorney General may direct shall be posted for at least 30 consecutive days on the official internet

13 government forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable,

14 provide direct written notice to any person known to have alleged an interest in the property that is the

15 subject of the order of forfeiture as a substitute for published notice as to those persons so notified.

16                  b.      This notice shall state that any person, other than the defendant, asserting a legal

17 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

18 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

19 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

20          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

21 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), in

22 which all interests will be addressed.

23          SO ORDERED this 19th day of October, 2017

24
                                                            /s/ John A. Mendez____________
25                                                          JOHN A. MENDEZ
                                                            United States District Court Judge
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                                                            2                               Preliminary Order of Forfeiture
